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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

     Plaintiff,

                v.                        Criminal No. 12-413 (FAB)

CARLOS CAMACHO-SANTIAGO [14],

     Defendant.


                                  ORDER

BESOSA, District Judge.

     Before the Court is defendant Carlos Camacho-Santiago’s motion

for reconsideration of the Court’s order denying his motion for

acquittal and for a new trial.      (Docket No. 1632.)

     Unlike the Federal Rules of Civil Procedure, the Federal Rules

of Criminal Procedure do not explicitly provide for motions for

reconsideration. See United States v. Ortiz, 741 F.3d 288, 292 n.2

(1st Cir. 2014) (“[M]otions for reconsideration in criminal cases

are not specifically authorized either by statute or by rule.”)

(internal citation omitted).      The First Circuit Court of Appeals

has considered motions for reconsideration in criminal cases,

however, and applied the same standard to them that is applied to

motion for reconsideration pursuant to Federal Rule of Civil

Procedure 59(e).     United States v. Allen, 573 F.3d 42, 53 (1st Cir.

2009).   The Court follows the First Circuit’s approach.

     Motions for reconsideration do “not provide a vehicle for a

party to undo its own procedural failures [or] allow a party [to]
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advance arguments that could and should have been presented to the

district court prior to judgment.”           Iverson v. City of Boston, 452

F.3d 94, 104 (1st Cir. 2006) (internal quotation marks and citation

omitted).    Rather, motions for reconsideration are appropriate in

a limited number of circumstances, such as (1) where the movant

presents newly discovered evidence; (2) where there has been an

intervening    change    in     the   law;   or   (3)    where   the    movant    can

demonstrate that the original decision was based on a manifest

error of law or was clearly unjust.           Allen, 573 F.3d at 53 (citing

Marie v. Allied Home Mortg. Corp., 402 F.3d 1, 7 n.2 (1st Cir.

2005)).

      Camacho asks the Court to reconsider its October 8, 2014,

order denying his motion for a judgment of acquittal and for a new

trial pursuant to Federal Rules of Criminal Procedure 29 and 33

(“Rule 29” and “Rule 33”).            (Docket No. 1625.)         Camacho’s motion

for reconsideration does not point to any newly discovered evidence

or an intervening change in the law.              See Allen, 573 F.3d at 53.

Nor   does   the   motion      demonstrate    that      the   Court’s   denial     of

Camacho’s Rule 29 and 33 motion was clearly unjust or based on a

manifest error of law.         See Allen, 573 F.3d at 53. Rather, Camacho

merely elaborates upon his previous arguments, tacking on some

additional legal and factual analysis that was noticeably missing

from his earlier motion, but that is not properly considered here.

See Iverson, 452 F.3d at 104.          Because the Court has no grounds for
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reconsidering its prior order, Camacho’s motion for reconsideration

is DENIED.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, October 14, 2014.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
